
82 So. 3d 954 (2011)
Daniel STAHL, Petitioner,
v.
HIALEAH HOSPITAL and Sedgwick Claims Management, Respondents.
No. 1D11-3841.
District Court of Appeal of Florida, First District.
August 4, 2011.
Mark L. Zientz of the Law Offices of Mark L. Zientz, P.A., Miami, for Petitioner.
No appearance for Respondents.
PER CURIAM.
DENIED. See Pino v. Dist. Court of Appeal, Third Dist., 604 So. 2d 1232, 1233 (Fla.1992) ("Mandamus is an appropriate legal remedy where the petitioner has a clear legal right to the performance of a particular duty and has no other legal method for obtaining relief.").
WOLF, DAVIS, and MARSTILLER, JJ., concur.
